      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 1 of 19




                        T]NITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        '  Crim. No. 21-CR-108 (PAIWTNL)




UNITED STATES OF AMERICA
                                                      PLEA AGREEMENT AND
        v.                                            SENTENCING S TIPULATIONS

 (1) DEREK MICIIAEL         CHAWIN


       The United States of America and DE,REK MICI{AEL CHAWIN ("the

defendant") agree to resolve this case on the terms and conditions that       follow.   This Plea

Agreement binds only the defendant, the United States Attomey's Office for the Dishict

of Minnesot4 and the Civil Rights Division of the U.S. Department of Justice. This

Agreement does not bind any other United States Attorney's Office or any other federal or

state agency.

       1.       Charses. The defendant     agrees   to plead guilty to Count One of            the

Indictment and Count One of the Information, each of which charge the defendant with

Deprivation of Rights, in violation of 18 U.S.C. 5 242. The defendant fully understands

the nature and elements of the crimes with which he has been charged. The defendant's

expectation is that, as a result of entering into this Agreement, he   will   serve his sentence

of imprisonment in federal custody. At the time of sentencing, the United States agrees

to move to dismiss, as to this defendant, Count Three of the Indictment in this case, and
                                                                         \
Counts One and Two of the Indictment in Case No.     21-CR-109.
                                                                                                  NED
                                                                                         DEC 1   5 Z0Zl
                                                                                   U,S. DIS1HICT COUFT ST PAUL
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 2 of 19




       2.     Fectual Basis. The defendant is pleading guilty because he is in fact guilty

of Count One ofthe Indictment and Count One ofthe Information. IJpleading guilty, the
                                                                       I

defendant admits that the following facts are true, and that those facts establish his guilt

beyond a reasonable doubt and constitute relevant conduct pursuant lo the United States
                                                                       I




Sentencing Guidelines. The defendant acknowledges that the foflo*ing facts are only a

partial summary of the government's evidence:

        a.    United States v. Chauvin, et al.Indictment

       On or about May 25,2020, in the State and Dishict of Minnesota, the defendant,

while acting under color of law, and while aided and abetted by other officers, willfully

deprived George Perry Floyd, Jr., of his constitutional rights-specifically, the right to be

free from an unreasonable seizure, which includes the right to be free from the use of

unreasonable force   by a police officer. The defendant held his left knee across Mr.

Floyd's neck, back, and shoulder, and his right knee on Mr. Floyd's back and arm. As

Mr. Floyd lay on the ground, handcuffed and unresisting, the defendant kept his knees on

Floyd's neck and body, even after Mr. Floyd became unresponsive. This offense resulted

in bodily injury to, and the death   of   George Floyd.

       Specifically, the defendant admits that on May 25,2020, he was on duty and acting

under color of law as a patrol officer for the Minneapolis Police Deparffnent ("MPD") in

the City of Minneapolis and District of Minnesota. Through his experience as an MPD

patrol officer, the defendant was familiar with MPD policies and training regarding the

authorized use   of force, including the requirement that an officer use force only in
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 3 of 19




proportion to a subject's resistance and the requirement that an officer stop using force

when a subject is not resisting. The defendant was also familiar with MPD policy

requiring officers to intervene, regardless of their rank or seniority, if they observe.another

officer using inappropriate force. The defendant was also aware of MPD policy and

training that once an arrestee is in custody, the arrestee is the officer's responsibility to

protect, and accordingly, officers are required to provide emergency medic             aI aidto an
arrestee who needs it, including CPR (immediately         if there is no pulse) and other basic first

aid, even while awaiting Emergency Medical Services          (EMS). Finally,     the defendant was

trained that   if   an arrestee is in the prone position, that position may make it more difficult

to breathe, and thus, officers should move that arestee to a side recovery or seated position.

       The defendant further admits that he did not, at any time on or before May 25,2020,

threaten or force Officers Tou Thao, J. Alexander Kueng, or Thomas Lane to disregard or

fail to comply with MPD policies and procedures.

       On the evening of May 25, 2020, the defendant and his partner, Offtcer Thao,

responded to a dispatch call regarding a counterfeit       bill.   Officers Kueng and Lane were

already on scene. After an attempt to seat Mr. Floyd in a squad car, the defendant and

Officers Kueng and Lane maneuvered Mr. Floyd, who was handcuffed and requesting to

be placed on the ground, out of the vehicle and face-down on the street. Mr. Floyd

remained restrained, prone and handcuffed on the ground for approximately ten minutes.

During this entire period, the defendant held his left knee on Mr. Floyd's neck, back, and

shoulder area and his right knee on Mr. Floyd's left arm and upper       back.    During the entire
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 4 of 19




time, Officers Kueng and Lane aided the defendant in restraining Mr.         Floyd. During

much ofthis time, Officers Kueng and Lane physically assisted the defendant in restraining

Mr. Floyd

       After the initial restraint, Mr. Floyd stopped resisting officers. The defendant

admits that no later than the time the officers decided not to apply the hobble to Mr. Floyd,

the defendant's continued use of force became objectively unreasonable and excessive

based on a totality of the circumstances. After that point, the defendant continued his

unreasonable restraint of Mr. Floyd until after the paramedics arrived.

       The defendant admits that in using this unreasonable and excessive force, he acted

willfully   and in callous and wanton disregard   ofthe consequences to Mr. Floyd's   life.   The

defendant knew that what he was doing was wrong, in part, because it was contrary to his

training as an MPD officer. The defendant chose to continue his use of force even though

he knew from MPD       policy and training that once Mr. Floyd was compliant, the defendant

should have gotten off of him and moved him into a side recovery or seated position.

       The defendant also knew there was no legal justification to continue his use of force

because he was aware that    Mr. Floyd not only stopped resisting, but also stopped talking,

stopped moving, stopped breathing, and lost consciousness and a        pulse. The defendant

chose to continue applying force even though he knew Mr.      Floyd's condition progressively

worsened. The defendant also heard Mr. Floyd repeatedly explain that he could not

breathe, was in pain, and wanted help.
       CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 5 of 19




       Likewise, the defendant knew that what he was doing was wrong-{hat continued

force was no longer appropriate and that it posed significant risks to Mr. Floyd's     life-
based on what he observed and heard about      Mr. Floyd. The defendant was aware that

civilian bystanders repeatedly asked him to check for a pulse, stated that Mr. Floyd was

unresponsive and not breathing, and asked him to get off of Mr.        Floyd. The defendant

also heard Officer Kueng, who checked Mr. Floyd at least twice for a pulse, twice say that

he could not find   one. The defendant did not observe Officer Thao or Officer Keung       do

or say anything to try to get the defendant off of Mr.   Floyd.   The defendant heard Officer

Lane twice ask whether Mr. Floyd should be rolled on his side. The defendant did not

hear or observe Offrcer Lane press the point, and did not hear or observe Officer Lane say

or do anything else to try to get Officer Kueng and the defendant off of Mr.     Floyd.   The

defendant did not ask or direct Officer Kueng to discontinue his restraint of Mr. Floyd.

       In addition to willfully depriving Mr. Floyd of his constitutional right to be free

from the use of unreasonable force by a police officer, as detailed above, the defendant also

willfully violated Mr. Floyd's constitutional right not to be deprived of libefy without due

process   of law, which includes an arrestee's right to be free from a police officer's

deliberate indifference to his serious medical needs. The defendant admits that he failed

to render medical aid to Mr. Floyd, as he was capable of doing, and trained and required to

do.   The defendant heaxd bystanders offering to provide medical aid and did not permit

the bystanders to approach Mr.   Floyd. At the time the defendant failed to render medical

aid to Mr. Floyd, the defendant saw Mr. Floyd lying on the ground, in serious medical
        CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 6 of 19




need, and eventually unconscious and pulseless, and recognized Mr. Floyd was in clear

need of medical   aid. At no point during the entire period that Mr. Floyd was on the ground

did the defendant or anyone else move Floyd onto his side, start CPR, or provide medical

aid of any kind to Mr.         Floyd. The defendant's failure to render medical        aid resulted in

Mr. Floyd's bodily injuy and death.

         The defendant agrees that the appropriate base offense level is second-degree

murder because he used unreasonable and excessive force that resulted in Mr. Floyd's

death, and he acted         willfully   and in callous and wanton disregard of the consequences to

Mr. Floyd's    life.   The defendant admits that his willful use of unreasonable force resulted

in NIr. Floyd's bodily injury and death because his actions impaired Mr. Floyd's ability to

obtain and maintain sufficient oxygen to sustain Mr. Floyd's life.

          b.    United States v. Chauvin fnformation

         On or about September 4, 2017, in the State and District of Minnesota, the

defendant, while acting under color               of law, willfully    deprived Juvenile     1 of   his

constitutional rights-specifically, the right to be free from an unreasonable seizure, which

includes the right to be free from the use of unreasonable force by a police           officer. First,

the defendant, without legal justification, held Juvenile 1 by the throat and struck Juvenile

1   multiple times in the head with        a dangerous weapon,   resulting in bodily injury io Juvenile

1.    Second, the defendant held his knee on the neck, shoulders, and upper back ofJuvenile

1 even after Juvenile 1 was lying prone, handcuffed, and unresisting, resulting in bodily

injury to Juvenile     1.
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 7 of 19




       Specifically, the defendant admits that on September 4,2017, he was on duty and

acting under color of law as a patrol officer for MPD in the City of Minneapolis and District

of Minnesota. The defendant and a second MPD officer who was being trained by the

defendant that day responded to a domestic assault call at a residence in Minneapolis.

Upon arrival,they spoke with the caller who reported that her 14-year-old son, Juvenile           1,


had assaulted   her. After the officers took a report from the mother, she showed          them to a

bedroom where Juvenile 1 was lying on his stomach on the floor, playing with his phone.

       At no point in the encounter did Juvenile 1 use force or threaten the use of force

against the   officers. Throughout the encougrter, the defendant was aware that Juvenile I

was 14 years old and that Juvenile 1 made no aggressive moves towards the officers.

       As the officers beganto take Juvenile    1   into custody, Juvenile   1   attemptedto explain

the situation with his mother and pulled away. After this initial encounter, the defendant

used unreasonable and excessive force on Juvenile 1 by striking him in the head multiple

times with a police-issue flashlight. The defendant then pinned Juvenile 1 to the wall by

his throat and again struck Juvenile 1 in the head with his flashlight. The defendant's

strikes caused a wound near Juvenile 1's left ear.

       The defendant admits he also used unreasonable and excessive force on Juvenile              1



by holding his knee on Juvenile    l's   neck, shoulders, and upper back for between fifteen

and sixteen minutes. During this period, Juvenile 1 was face-down on the floor,

handcuffed, and unresisting. During the defendant's restraint, Juvenile 1 cooperated with

police directions and, at times, cried from pain.
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 8 of 19




       The defendant admits his uses of unreasonable force were            willful.   Through his

experience as an MPD patrol officer, the defendant was familiar with MPD policies and

training regarding the authorized use of force, including the requirement that an officer use

force only in proportion to a subject's resistance and the requirement that an officer stop

using force when a subject is not resisting. In particular, strikes to the head are considered

deadly force and deadly force may only be used when a person presents a risk of death or

great bodily harm to the      officer. The defendant was   also trained that   if an arrestee is in

the prone position, that position may make it more difficult to breathe, and thus, officers

should move that arrestee to a side recovery or seated position.

       The defendant's use of unreasonable force was also willful as evidenced by the

report the defendant wrote about the incident in which he omitted that he repeatedly struck

Juvenile 1 in the head with a flashlight, grabbed Juvenile    1   by the throat, and used his knee

to pin Juvenile   1   to the ground for more than fifteen minutes.

       The defendant's willful uses of unreasonable force resulted in bodily injury to

Juvenile   1.


       3.       Waiver of Pretrial Motions. The defendant understands and agrees that the

defendant has certain rights to file pre-trial motions in these cases. As part of this Plea

Agreement,      ffid based upon the concessions of the United States within this Plea
Agreement, the defendant knowingly, willingly, and voluntarily gives up the right to have

any pending motions resolved and to file any additional pretrial motions in these cases.
         CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 9 of 19




The defendant agrees that, by pleading guilty, he is withdrawing any motions previously

fi1ed.

         4.     Additional Consequences. The defendant understands that           as a   result of his

conviction, he could be assessed the costs of prosecution and experience additional

consequences, such as the loss of the right to carry frrearms, the right to vote, and the right

to hold public office.

         5.     Waiver of Constitutiqnal Trial Riehts. The defendantunderstands thathe

has the right to go to   trial. At trial, the defendant would    be presumed irurocent, have the

right to trial by jury or, with the consent of the United States and of the Court, to trial by

the Court, the right to the assistance of counsel, the right to confront and cross-examine

adverse witnesses, the right to subpoena witnesses to testify for the defense, the right to

testify and present evidence, and the right to be protected from compelled self-

incrimination. The defendant understands that he would have the right to an attorney at

every stage of these proceedings and,       if necessary,   one would be appointed to represent

him.     The defendant understands that he has the right to persist in a plea of not guilty and,

if   he did so, he would have the right to a public and speedy     trial.   By pleading guilty, the

defendant knowingly, willingly, and voluntarily waives each of these trial rights, except

the right to counsel. The defendant understands that a guilty plea is a complete and final

admission of guilt and,     if   the Court accepts the guilty plea, the Court     will   adjudge the

defendant guilty without a trial.
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 10 of 19




       6.     Statutory Penalties. The defendant understands that Count One of the

Indictment (Title 18, United States Code, Section 242) is a felony offense that carries the

following statutory penalties :

              a.      amaximum of life imprisonment;

              b.      a supervised release term of not more than 5 years;

              c.      amaximum fine of $250,000;

              d.      assessment to the defendant of the costs of prosecution,
                      imprisonment, and supervision, as defined in 28 U.S.C. $$ 1918(b)
                      andl920; and

              e.      a mandatory special assessment of $100 under 18 U.S.C.
                      $ 3013(a)(2)(A).

              The defendant understands that Count One of the Information (Title        18,


United States Code, Section 242) is a felony offense that carrieb the following statutory

penalties:

              a.      a   maximum of ten years in prison;

              b.      a supervised release term of not more than 3 years;

              c.      amaximum fine of $250,000;

              d.      assessment to the defendant of the costs of prosecution,
                      imprisonment, and supervision, as defined in 28 U.S.C. $$ 1918(b)
                      andt920; and

              e.      a mandatory special assessment of $100 under 18 U.S.C.
                      $ 3013(a)(2XA).

       Therefore, under the terms of this Agreement, the total statutory penalties are: a

maximum of life imprisonment; a supervised release term of not more than 5 years;         a



                                              10
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 11 of 19




maximum fine of $500,000; assessment to the defendant of the costs of prosecution,

imprisonment, and supervision as defined        in 28 U.S.C. $$ 1918(b) and 1920; and a

mandatory special assessment of $200 under 18 U.S.C. $ 3013(a)(2XA).

       7.       Revocation of Supervised Release. The defendant understands that if the

defendant were to violate any condition       of supervised release, the defendant could be

sentenced to an additional term of imprisonment up to the length of the original supervised

release term.

       8.       Guideline Calculations. The parties acknowledge that the defendant will

be sentenced in accordance   with   18 U.S.C. $ 3551, et   seq. Nothing in this   Plea Agreement

should be construed to limit the parties from presenting any and all relevant evidence to

the Court at sentencing. The parties also acknowledge that the Court          will   consider the

United States Sentencing Guidelines in determining the appropriate sentence. The parties

stipulate to the following guideline calculations:

                a.    Count One of the fndictment:

                             Base Offense Level. The parties agree that pursuant to
                             U.S.S.G. $ 2H1.1(a), the base offense level is 12 or the base
                             offense level for the underlying offense, which in this case is
                             second-degree murder. U.S.S.G. $ 2A1.2(a). The base
                             offense level for second-degree murder is 38. U.S.S.G. $
                             2A1.2(a). As 38 is greater than12, the parties agree the base
                             offense level is 38.

                      11.    Specific Offense Characteristics. The parties agree that the
                             base offense level should be increased bv 6 levels for color of
                             law. U.S.S.G. $ 2H1.1(bxl).



                                               11
CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 12 of 19




            iii.   Chapter 3 Adjustment. The parties agree that the base offense
                   level should be increased by 2 levels for restraint of the victim.
                   u.s.s.G.   $ 3A1.3.

     b.     Count One of the Information:

                   Base Offense Level. The parties agree that pursuant to
                   U.S.S.G. $ 2H1.1(a), the base offense level is 10 or the base
                   offense level for the underlying offense, which in this case is
                   aggravated assault. U.S.S.G. $ 2A2.2(a). The base offense
                   level for aggravated assault is 14. U.S.S.G. $ 2A2.2(a). As
                   14 is greater than 10, the parties agree the base offense level is
                   L4.

            11.    Specific Offense Characteristics. The parties agree that the
                   base offense level should be increased by 4 levels for use of a
                   dangerous weapon. U.S.S.G. g 2A2.2(b)(2)(B). The parties
                   agree that the base offense level should be increased by 3
                   levels for bodily injury. U.S.S.G. 5 2M.2(bX3XA). The
                   parties agree that the base offense level should be increased
                   by 6 levels because the offense was committed under color of
                   law. U.S.S.G. $ 2H1.1(bxl).

            iii.   Chapter 3 Adjustment. The parties agree that the base offense
                   level should be increased by 2 levels because the defendant
                   knew or should have known the victim was vulnerable.
                   u.s.s.G.   $ 3A1.1(bX1).

      c.    Other Adjustments

                   Combined Offense Level. The parties agree that the offenses
                   charged in the Indictment and the Information are not gtouped,
                   whichresults intwo Units. U.S.S.G. $ 3D1.2(d). Theparties
                   agree that the offense level will not increase because one Unit
                   (from Count One of the Information) is 9 or more levels less
                   serious thanthe otherUnit (from Count One of the Indictment).
                   U.S.S.G. $ 3D1.a(c). This results in an offense level of 46.

            ii.    Acceptance of Responsibility. The United States agrees to
                   recornmend that the defendant receive a 3-level reduction for
                   acceptance. of responsibility and to make any appropriate
                   motions with the Court. However. the defendant understands

                                    I2
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 13 of 19




                               and agrees that this recommendation is conditioned upon the
                               following: (i) the defendant testifies truthfully during the
                               change of plea hearing, (ii) the defendant cooperates with the
                               Probation Office inthe pre-sentence investigation, and (iii) the
                               defendant makes no statements and commits no frrther acts
                               inconsistent with acceptance of responsibility. U.S.S.G. $
                               3E1.1. If the defendant receives the 3-level adjustment, his
                               final adjusted offense level will be 43.

              d.      Criminal History Category. Based on information available           this
                                                                                           at
                     time, the parties believe that the defendant's criminal history category
                     is I. This does not constitute a stipulation, but a belief based on an
                     assessment of the information currently known. The defendant's
                     actual criminal history will be determined by the Court based on the
                     information presented in the Presentence Report and by the parties at
                     the time of sentencing.

                      If it is determinedthat the defendant's criminal history is other than
                      category I, such determination shall not be a basis for either party to
                      withdraw from this Plea Agreement.

              e.      Guideline Range. Ifthe defendant's adjusted offense level is 43 and
                      his criminal history is       I,   the advisory guideline range is life
                      imprisonment.

                      Fine Range. The Sentencing Guidelines fine range is $50,000 to
                      $500,000. U.S.S.G. $ sE1.2(c).

              o
              b'      Supervised Release. The Sentencing Guidelines require a term of
                      supervised release of at least 2 yearc, up to a maximum supervised
                      release term of 5 years for Count One of the Indictment and a term of
                      supervised release of at least 1 year, up to a maximum supervised
                      release term of 3 years for Count One of the Information. U.S.S.G.
                      $ sD1.2(a)(1).

       9.     Discretion of the     Court.    The foregoing stipulations are binding on the

parties, but do not bind the   Court. The parties understand that the Sentencing Guidelines

are advisory and their application is a matter that falls solely   within the Court's discretion.

The Court   will make its own determination regarding the applicabie guideline factors          and

                                               13
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 14 of 19




the applicable criminal history category.     If   the Court determines that the applicable

guideline calculations or the defendant's criminal history category is different from that

stated above, the parties may not withdraw from this Agreement.

       10.    Stipulated Term of Imprisonment and Superyised Release. Based on

the facts and circumstances in these cases, the United States and the defendant agree,

pursuant to Federal Rule of Criminal Procedure     1 1 (c)( 1 )(C),   that the following disposition

of this case is appropriate:

              a.      The Court should impose a sentence of imprisonment of no less than

                      240 months and no greater than 300 months (expected to serve no less

                      than204 months andno greater than255 monttrs, assuming all good-

                      time credit);

              b.      The Court should impose a five-year term of supervised release;

                      The Court, pursuant to U.S.S.G. $ 5G1.3(b)(2), should order that the

                      sentence of imprisonment imposed in this case be served concurrent

                      to the 270-month sentence imposed rn State of Minnesota v. Derek

                      Chauvin,No. 27-CR- 20-I2646(expected to serve approximately 178

                      months, assuming all good-time credit); and

               d.     At sentencing, the Court, pursuant to U.S.S.G. $ 5G1.3(b)(1), should

                      adjust the sentence   for any period of          imprisonmenVincarceration

                      already served in the case listed in the preceding subparagraph so that




                                             t4
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 15 of 19




                      the defendant receives credit in this case for time spent in             state

                      custody.

       The parties understand that    if this Plea Agreement is accepted by the Court, the

agreed disposition set forth in Paragraphs 10a      -   10d   will be binding on the Court. The

parties agree to advocate for a sentence as set forth in Paragraphs 10a     - 0d. Specifically,
                                                                              1



the United States intends to advocate for a sentence of 300 months. The agreed sentence

is based on the parties' consideration of the sentencing factors set forth in 18 U.S.C.           $


3ss3(a).

       The parties acknowledge and agree that this stipulation under Rule 1t(c)(l)(C) is

limited to the issues set forth in Paragraphs 10a.- 10d, and that this stipulation has no effect

on the Court's authority and discretion to impose a frne, restitution, or any and all other

applicable penalties and conditions as the result of the defendant's conviction on Count

One of the Indictment and Count One of the Information.            If the Court declines to accept

this Plea Agreement and the agreed sentencing disposition set out in Paragraphs 10a        -   10d,

either party may withdraw from the Agreement.

       11.    Special Assessments. The Guidelines require payment                   of a   special

assessment   in the amount of $100.00 for each felony count of which the defendant is

convicted. U.S.S.G. $ 5E1.3. The defendant agrees that any special assessment, fine,

costs, order of restitution, or other financial judgment imposed as part of the sentence in

this case shall be due, payable, and collectable immediately upon the entry of the judgment




                                               t5
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 16 of 19




and commitment order in this case, and the United States may take all steps trnder the law

to collect on the judgment at that time.

       12.    Restitution. The defendant         understands and agrees    to pay restitution

pursuant to Title 18, United States Code, Section 3663, and the Court may order the

defendant to pay restitution to the victims of his   crimes. The parties agree that G.P.F. and

Juvenile 1 are identifiable victims who have suffered a physical injury or pecuniary loss.

Pursuant to Title 18, United States Code, Section 3663(a)(3), the defendant agrees to pay

restitution in an amount to be determined by the Court at sentencing. There is presently

no agreement as to the amount of restitution. The parties agree that the procedures for

issuance and enforcement of orders of restitution in Title 18, United States Code, Section

3664 apply.

       13.    No Contact. The defendant agrees to continue to have no contact, directly or

through third parties, with the victims of his crimes, including Juvenile 1 and the estate or

family of George Perr)'Floyd, Jr., while in Bureau of Prisons custody or during any period

of supervised release.

       14.    No Law Enforcement Employment. The defendant understands and

agrees that, as a convicted felon, he   will never be eligible to work in any law enforcement

capacity, even once he has served his substantial prison sentence. Accordingly, the

defendant expressly agrees to permanently forfeit any law enforcement and cor:rectional

officer certifications with the Minnesota Board of Peace Officer Standards and Training

and any other law enforcement certiffing agency from which he possesses a curent law


                                               T6
      CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 17 of 19




enforcement or conectional officer certification via written notice to that orsanization or

organizations prior to the date of his sentencing in this case.

       15.     Disclosure of Assets. The defendant will fully and completely disclose to

the United States Attorney's Office the existence and location of any assets in which the

defendant has any right, title, or interest, or over which the defendant exercises control,

directly or indirectly, including those assets held by   a spouse,   nominee, or other third parfy,

or any business owned or controlled by the defendant. The defendant agrees to assist the

United States in identifying, locating, returning, and transferring assets for use in payment

of restitution, frnes, and forfeiture ordered by the   Court. The defendant     agrees to complete

a financial statement within two weeks of the entry of his guilty plea. The defendant

frrther agrees to execute any releases that may be necessary for the United States to obtain

information concerning the defendant's assets and expressly authorizes the United States

to obtain a credit report on the      defendant   to evaluate his ability to satisff financial

obligations imposed by the   Court. If   requested by the United States, the defendant agrees

to submit to one or more asset interviews or depositions under oath.

       16.     \ilaivers of Appeal and Collateral Attack. The defendant hereby waives

the right to appeal any non-jurisdictional issues, including the sentence imposed in this

case. This appeal waiver is effective so long as the sentence is consistent with Paragraph

10 herein and includes, but is not   limited to, the defendant's waiver of the right to appeal

his guilt or innocence, his sentence and restitution, the constitutionality of the statutes to

which the defendant is pleading guilty, and the applicability of those statutes to his actions.


                                                t7
     CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 18 of 19




The defendant also waives the right to petition under 28 U.S.C. 5 2255 except based upon

a claim of ineffective assistance   of counsel.

       The defendant has discussed these rights with his attomey. The defendant

understands the rights being waived, and the defendant waives these rights knowingly,

intelligently, and voluntarily. The United States agrees to waive its right to appeal any

sentenbe so long as the sentence is consistent     with Paragraph 10 herein.

       17.    FOIA Requests. The defendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this case under the

Freedom of Information Act and the Privacy Act of 1974,5 U.S.C. $$ 552, 5524.

       18.    Complete Agreement. This, along with any agreement signed by the

parties before enhy of plea, is the entire agreement and understanding between the United

States and the defendant.




                                                       KRISTEN CLARKE
                                                       Assistant Attomey General
                                                       Civil Rights Division
                                                       U.S. Department of Justice




                                                                            TREPEL



                                                  18
   CASE 0:21-cr-00108-PAM-TNL Doc. 142 Filed 12/15/21 Page 19 of 19




                                                         r1
                                                   /-/
      f5 gt,c'Lrzl                                        \/   -l
Date:                                              -.
                                       DEREKMICITAEL CHAWIN
                                       Defendant




Date:   lL'lf'L\
                                       ERIC NELSON
                                       Attomev for Defendant




                                  t9
